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                                                                           EXHIBIT A
                                                      SUMMARY CHART OF PROPOSED CRITICAL REVISIONS TO
                                               PROPOSED FINAL DIP ORDER AND PROPOSED BIDDING PROCEDURES ORDER1




1
     Capitalized terms not otherwise defined in this Exhibit A shall have the meanings ascribed to them in the DIP Loan Agreement, the proposed Final DIP Order, or the proposed Bidding Procedures Order, as
     applicable. Citations herein refer to the proposed Final DIP Order filed at D.I. 246 and the proposed Bidding Procedures Order filed at D.I. 192.


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     Key Provision in                                     Current Provision in                                                             Committee’s Proposed Changes for
         Dispute                  Proposed Final DIP Order, DIP Loan Agreement, or Bidding                                           Final DIP Order or Bidding Procedures Order2
                                                              Procedures
    Liens on Assets of        The DIP Loan Agreement provides that the Heath Law firm shall be a                   The Court should not allow the Heath Law Firm to be obligated to pay Prepetition
    Heath Law Firm            Guarantor. The Final DIP Order provides for a first priority senior                  Secured Loan Obligations of PGX. The Heath Law Firm is not an obligor or
                              security interest in and lien upon all tangible and intangible pre- and post-        guarantor of the Prepetition Secured Loan Obligations, did not pledge or secure
    (DIP Loan                 petition unencumbered property of the Heath Law Firm, including $1.6                 its assets for the benefit of PGX, and had no prepetition secured debt of its own.
    Agreement, § 1.01 at      million in unencumbered cash held by the Heath Law Firm on the Petition              The Heath Law Firm is not even a party or signatory to the Prepetition Secured
    12; Proposed Final        Date.                                                                                Documents. The Heath Law Firm is not receiving any new money under the DIP
    DIP Order ¶ 5(a)).                                                                                             Budget. There is no justification or support to permit the Heath Law Firm to
                                                                                                                   become obligated to pay the Prepetition Secured Loan Obligations. All assets of
                                                                                                                   the Heath Law Firm should also be excluded from any grant of security interest
                                                                                                                   under the DIP Facility, especially in relation to the Roll-Up.

    Liens and Claims on       The DIP Lenders and Prepetition Secured Lenders are granted DIP Liens,               The Court should strike these provisions in their entirety. There has been no
    Avoidance Actions,        DIP Superpriority Claims, Adequate Protection Liens and Adequate                     independent investigation into potential claims, including but not limited to
    D&O Claims,               Protection § 507(b) claims against Avoidance Actions, D&O claims and                 potential litigation against Prospect and significant prepetition payments to
    Commercial Tort           commercial tort claims and the proceeds thereof.                                     executives and others that may be subject to avoidance actions. The Committee
    Claims                                                                                                         is the only party fit to investigate these claims, which could be a substantial source
                                                                                                                   of recovery that must be preserved for unsecured creditors. The very targets of
    (DIP Loan                                                                                                      the investigation would be the beneficiary of these liens.
    Agreement,
    §§ 4.10(iii), (xiv);                                                                                           As set forth below, in the event DIP Liens are granted in Avoidance Actions, they
    Proposed Final DIP                                                                                             should be subject to the doctrine of marshalling.
    Order ¶¶ 4. 9(b);




2
       This chart summarizes the key objectionable provisions identified by the Committee in the proposed Final DIP Order and DIP Loan Agreement, and the Committee’s suggested revisions. It does not include a
       complete list of all objections and proposed changes to the proposed Final DIP Order, which are further but not completely set out in DIP Objection.

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       Dispute             Proposed Final DIP Order, DIP Loan Agreement, or Bidding                                  Final DIP Order or Bidding Procedures Order2
                                                     Procedures
 Challenge Deadline    The Final DIP Order gives the Committee until the earlier of 60 calendar       The Committee must be given at least 75 days from the entry of the Interim DIP
 is Unreasonable       days after the Committee’s appointment and the deadline for submitting         Order to investigate any potential Challenges, pursuant to Local Rules for the
                       bids pursuant to the Bidding Procedures to file any Challenges—that date       United States Bankruptcy Court for the District of Delaware, Rule 4001-
 (Proposed Final DIP   being August 3, 2023―and only permits extensions with the prior                2(a)(i)(Q)—August 21, 2023 (75 days falls on Sunday, August 20). Under the
 Order ¶ 15).          written consent of the Prepetition Agents or pursuant to a Court order.        circumstances and given delays in receiving requested information and the
                       The Final DIP Order also does not deem the Committee to have standing          complexity of the prepetition transactions, the Committee’s challenge deadline
                       to make any Challenge.                                                         should be extended to at least September 7, 2023. Since the challenge deadline is
                                                                                                      tied to the sale approval hearing, the hearing on the sale transactions should be
                                                                                                      scheduled for September 14, 2023.

                                                                                                      The Committee should also be provided with a reasonable budget to conduct such
                                                                                                      investigation.
 Events of Default     Events of Default include the occurrence and continuance of any of the         The Court should strike this provision in its entirety because it would undermine
 caused by bringing    following in any Chapter 11 Case: the Debtors or any other person shall        the purpose of the Challenge provisions of the Final DIP Order. The Prepetition
 Challenges            seek, or shall support any other person’s motion seeking (in any such          Secured Lenders should not be able to default the Debtors and exercise remedies
                       case, verbally in any court of competent jurisdiction or by way of any         because the Committee asserted a Challenge within its rights and in accordance
 (DIP Loan             motion or pleading with the Bankruptcy Court, or any other writing to          with the DIP order.
 Agreement,            another party in interest by Debtors) to challenge the validity or
 § 9.01(u)(O)).        enforceability of any of the DIP Lien, Obligations, Lien (as defined
                       therein) or Prepetition Obligations of the parties under the Prepetition
                       Loan Documents, including, but not limited to, seeking to prohibit, limit
                       or restrict the right of the Prepetition First Lien Agent (on behalf of the
                       Prepetition First Lien Lenders) to credit bid for any or all of the Debtors’
                       assets, or (2) the Bankruptcy Court enters an order prohibiting,
                       restricting, precluding, or otherwise impairing the unqualified right of the
                       DIP Agent or the Prepetition Agents (or their respective designees) from
                       having the right to or being permitted to “credit bid” any amount of the
                       Obligations or Prepetition Obligations, respectively, with respect to the
                       assets of the Debtors.


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       Dispute             Proposed Final DIP Order, DIP Loan Agreement, or Bidding                             Final DIP Order or Bidding Procedures Order2
                                                        Procedures
 Diminution in Value   The Prepetition Secured Lenders are entitled to adequate protection of Because adequate protection is limited to the extent of and in an amount equal to
 Limits on Adequate    their interests in all Prepetition Collateral, including Cash Collateral, the aggregated Diminution in Value:
 Protection            solely to the extent of and in an amount equal to the aggregate Diminution    - Adequate Protection Payments must be subject to recharacterization as
                       in Value, if any, of the Prepetition Secured Lenders’ interest in the            principal. Secured Lenders are only entitled to such payments in the event
 (Proposed Final DIP   Prepetition Collateral. Any and all payments or proceeds remitted to the         Diminution of Value occurs;
 Order ¶¶ 9, 22).      DIP Agent or DIP Lenders or, subject to paragraph 15 of the Final DIP
                       Order, the Prepetition Agents, pursuant to the provisions of the Final DIP    - Second Lien Lenders, who are currently and projected to be unsecured by
                       Order or the DIP Documents shall be irrevocable and received free and            the Debtors’ own valuations and the transactions proposed, cannot or
                       clear of any claim, charge, assessment or other liability, whether asserted      should not receive Adequate Protection; and
                       or assessed by, through or on behalf of the Debtors.                          - Diminution in Value calculations should exclude the payments to
                                                                                                        Professionals and Lenders.
                                                                                                     Given the difficulties between the assessing Prospect’s activities as equity
                                                                                                     holder, minority first lien lender and second lien lender, and the commingling
                                                                                                     of work, Prospect’s reimbursement professional fees should be subject to
                                                                                                     additional scrutiny.

 Marshaling Waivers    The Secured Lenders are not subject to doctrine of “marshaling.”          If liens on Avoidance Actions and the proceeds thereof are granted, the doctrine
                                                                                                 of marshalling must apply to the payment of the DIP Facility and the DIP Lenders
 (DIP Loan                                                                                       should be required to look last at debtor and estate claims to satisfy the DIP
 Agreement                                                                                       Facility. The DIP Lenders should not credit bid liens on the only assets that may
 § 9.01(u)(W);                                                                                   be available for unsecured creditors.
 Proposed Final DIP
 Order, Preamble ¶H,
 ¶ 14).




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                                                     Procedures
 DIP Budget;           The Carve-Out caps only the Committee’s professional fees, at 10% of In order for the Committee to satisfy its statutory and fiduciary duties, it must be
 Professional Fee      the budgeted amount for the Debtors’ eight-plus bankruptcy adequately funded and not be treated unreasonably and radically differently than
 Inequality            professionals. This constitutes disparate treatment of professionals. the Debtors’ professionals. Here where the Debtors have four main law firms, a
                                                                                             financial advisor, an investment banker, and two highly paid directors appointed
 (Notice of Revised                                                                          shortly before the filing (plus ordinary course professionals), there is no
 DIP Budget, Ex. A                                                                           justification or reason to severely limit the payment of committee fees and
 [D.I. 45];                                                                                  expenses.
 Proposed Final DIP
 Order, ¶ 18(a))
 Milestones            The proposed Milestones are based on the dates set out in the RSA. The proposed Milestones set forth in paragraphs 11(d)-(f) of the Final DIP Order
                       However, the RSA contemplates effectuation of a sale within 105 days should be pushed back in order to allow consideration of alternative transactions
 (Proposed Final DIP   of the Petition Date (September 17, 2023).                           and a plan of reorganization, adequately allow a postpetition sale process where
 Order, ¶ 11).                                                                              no prepetition sale process occurred, and prevent impeding the Committee from
                                                                                            performing its duties on behalf of unsecured creditors. Here where equity is
                                                                                            paying no consideration for the assets of the Heath Law Firm and the assets of
                                                                                            PGX are being conveyed to the Lenders and sponsor on a credit bid, there is a
                                                                                            need to proceed cautiously. There is absolutely no support for an accelerated sale
                                                                                            process. The Debtors are not a melting ice cube. The Sale Hearing should be no
                                                                                            earlier than September 14, 2023.




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                                                    Procedures
 Sale Timeline        As with the Milestones, the Debtors’ proposed Sale timeline is The Committee proposes these dates be extended and keyed off a Sale Hearing no
                      significantly abbreviated and has not been adjusted to account for the earlier than September 14, 2023.
 (Proposed Bidding    delayed hearing to approve the Bidding Procedures. The proposed
 Procedures Order)    Bidding Procedures Order provides, among other dates, for:
                         -   Bid Deadline on August 3, 2023 at 5:00 p.m. (prevailing Eastern
                             Time);
                         -   Auction, if any, on August 8, 2023 at 5:00 p.m. (prevailing
                             Eastern Time);
                         -   Post-Auction Objection Deadline on August 9, 2023 at 5:00 p.m.
                             (prevailing Eastern Time);
                         -   Sale Hearing on August 11, 2023 at 5:00 p.m. (prevailing Eastern
                             Time)
 Good Faith Finding   The Bidding Procedures Order provides for the Court to deem the The “good faith” finding is premature at the entry of the Bidding Procedures
 (Proposed Bidding    Progrexion Stalking Horse Bidder has acted in “good faith” in connection Order, and is more appropriately addressed in the Sale Order. The Court should
 Procedures Order,    with the Progrexion Stalking Horse Bidder’s negotiation of the Bidding strike this provision in its entirely.
 ¶ G)                 Procedures and entry into the Progrexion APA.




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